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 1 Robert D. Wilkinson         #100478
   BAKER MANOCK & JENSEN, PC
 2 5260 North Palm Avenue, Fourth Floor
   Fresno, California 93704
 3 Telephone: 559.432.5400
   Facsimile: 559.432.5620
 4

 5 Attorneys for Defendant, PATRICIA ANN KING

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 7

 8                                     UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                               CASES No. 1:10-CR-151-1 AWI
                                                                     1:10-CR-249-4 AWI
12                       Plaintiff,

13             v.                                          STIPULATION TO CONTINUE HEARING
                                                           ON PRETRIAL SERVICES VIOLATION
14 PATRICIA ANN KING,                                      PETITION AND ORDER

15                       Defendant.                        Date:    May 25, 2012
                                                           Time:    1:30 p.m.
16                                                         Courtroom 9
                                                           Judge:    Hon. Dennis L. Beck
17

18
19                       WHEREAS by ex parte order the Court as set May 16, 2012 at 1:30 p.m. for a
20 hearing on the Pretrial Services Violation Petition dated May 8, 2012, in the above referenced

21 matters; and

22                       WHEREAS, counsel for defendant Patricia Ann King in the two cases referenced
23 above, in which she is represented respectively by Thomas V. Miles and Robert D. Wilkinson, are

24 both unavailable on May 16, 2012 at 1:30 p.m.; and

25                       WHEREAS counsel for plaintiff the United States in these matters, respectively
26 Mark Cullers and Kirk Sherriff, the Pretrial Services Officer in these matters, Dan Stark, and both
27 counsel for Ms. King are available on May 25, 2012, at 1:30 p.m.;

28 / / /


     1112392v2 / 10924.0035
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 1                                  The parties hereto, through authorized counsel, STIPULATE that the hearing on

 2 the Pretrial Services Violation Petition, currently set for Wednesday, May 16, 2012, at 1:30 p.m.,

 3 in Courtroom 9, may be continued to Friday, May 25, 2012 at 1:30 p.m., in Courtroom 9.

 4

 5                                                               BENJAMIN B. WAGNER
                                                                 United States Attorney
 6
                              May 14, 2012                       By:/s/ Mark Cullers (as authorized on 5/14/12)
 7
                                                                 MARK CULLERS, Assistant U.S. Attorney
 8                                                               in Case No. 1:10-CR-151-1 AWI

 9
                              May 14, 2012                       By:/s/ Kirk E. Sherriff (as authorized on 5/14/12)
10                                                               KIRK E. SHERRIFF, Assistant U.S. Attorney
                                                                 in Case No. 1:10-CR-249-4 AWI
11

12
                              May 14, 2012                       /s/ Thomas V. Miles
13                                                               THOMAS V. MILES, Attorney for Defendant
                                                                 Patricia Ann King in Case No. 1:10-CR-151-1 AWI
14

15
                              May 14, 2012                       /s/ Robert D. Wilkinson
16                                                               ROBERT D. WILKINSON, Attorney for Defendant
                                                                 Patricia Ann King in Case No. 1:10-CR-249-4 AWI
17

18
                                                                  ORDER
19
                                    Good cause having been shown therefore upon the parties' stipulation above, IT IS
20

21 HEREBY ORDERED that the hearing on the Pretrial Services Violation Petition set for

22 Wednesday, May 16, 2012, at 1:30 p.m., in Courtroom 9, shall be continued to Friday, May 25,

23 2012 at 1:30 p.m., in Courtroom 9.

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25
     IT IS SO ORDERED.
26
27                         Dated:   May 14, 2012                                 /s/ Dennis L. Beck
     DEAC_Signature-END:
                                                                      UNITED STATES MAGISTRATE JUDGE
28


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